         Case 6:15-cv-01517-TC       Document 266     Filed 06/28/18    Page 1 of 3




JULIA A. OLSON (OR Bar 062230)                   ANDREA K. RODGERS (OR Bar 041029)
JuliaAOlson@gmail.com                            Andrearodgers42@gmail.com
Wild Earth Advocates                             Law Offices of Andrea K. Rodgers
1216 Lincoln Street                              3026 NW Esplanade
Eugene, OR 97401                                 Seattle, WA 98117
Tel: (415) 786-4825                              Tel: (206) 696-2851

PHILIP L. GREGORY (pro hac vice)
pgregory@gregorylawgroup.com
Gregory Law Group
1250 Godetia Drive
Redwood City, CA 94062
Tel: (650) 278-2957

Attorneys for Plaintiffs




                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON



KELSEY CASCADIA ROSE JULIANA;                      Case No.: 6:15-cv-01517-TC
XIUHTEZCATL TONATIUH M., through his
Guardian Tamara Roske-Martinez; et al.,

                Plaintiffs,                        DECLARATION OF DR. JOSEPH E.
                                                   STIGLITZ in Support of Plaintiffs’
v.                                                 Response in Opposition to Defendants’
                                                   Motion for Summary Judgment
The UNITED STATES OF AMERICA;
DONALD TRUMP, in his official capacity as
President of the United States; et al.,

                Defendants.




Declaration of Dr. Joseph E. Stiglitz in Support of Plaintiffs’ Response in
Opposition to Defendants’ Motion for Summary Judgment
         Case 6:15-cv-01517-TC         Document 266        Filed 06/28/18      Page 2 of 3




   I, Dr. Joseph E. Stiglitz, hereby declare and if called upon would testify as follows:

1. I have been retained as an expert on behalf of Plaintiffs in this matter.

2. I have prepared an expert report for this litigation (“Expert Report”), a true and correct copy

   of which is attached hereto as Exhibit 1. My Expert Report is signed by me. A copy of my

   Expert Report was served on Defendants on April 13, 2018.

3. My Expert Report contains:

       a. a complete statement of all opinions I will express at trial and the basis and reasons

           for these opinions;

       b. the facts or data considered by me in forming my opinions;

       c. any exhibits that I currently plan to use to summarize or support my opinions;

       d. my qualifications, including a list of all publications authored by me in the previous

           10 years;

       e. a list of all other cases in which, during the previous 4 years, I testified as an expert at

           trial or by deposition, if any; and

       f. a statement of the compensation to be paid for the study and testimony in the case.

4. If called to testify in this matter, I would provide testimony as described in the attached

   Expert Report.

       In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

       DATED this 26th day of June, 2018.




Declaration of Dr. Joseph E. Stiglitz in Support of Plaintiffs’ Response in                          2
Opposition to Defendants’ Motion for Summary Judgment
       Case 6:15-cv-01517-TC        Document 266      Filed 06/28/18      Page 3 of 3




                                                 Respectfully submitted,




                                                 Dr. Joseph E. Stiglitz




Declaration of Dr. Joseph E. Stiglitz in Support of Plaintiffs’ Response in             3
Opposition to Defendants’ Motion for Summary Judgment
